          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                         CRIMINAL NO. 1:09CR26


UNITED STATES OF AMERICA                  )
                                          )
                                          )
                  VS.                     )            ORDER
                                          )
                                          )
MARK TAYLOR LEWIS                         )
                                          )


      THIS MATTER is before the Court on Defendant’s motion for review

of a detention order entered by the Magistrate Judge. For the reasons set

forth below, the detention order is affirmed.



               I. FACTUAL AND PROCEDURAL HISTORY

      Defendant is charged with conspiracy to possess with intent to

distribute 50 grams or more of crack cocaine, in violation of 18 U.S.C. §§

846 and 841(a)(1); the use of a communication facility in the commission of

the drug offense charged in Count One, in violation of 21 U.S.C. § 843(b);

and money laundering in violation of 18 U.S.C. § 1956(a)(1)(B)(i). Bill of

Indictment, filed April 7, 2009.




   Case 1:09-cr-00026-MR-WCM       Document 139   Filed 05/12/09   Page 1 of 7
                                      2

     Defendant pled not guilty at his arraignment and requested a jury trial

that is scheduled to commence the week of July 6, 2009. Following

arraignment, the Government moved for detention pending trial. A

detention hearing was held where the Government called Special Agent

Brinzell of the Drug Enforcement Administration to testify, and the

indictment and pretrial services report were admitted into evidence without

Defendant’s objection.1 The Special Agent testified that Defendant’s

involvement with the charged conspiracy began in 2007. As part of the

conspiracy, Defendant sent money obtained through proceeds of drug

transactions through a money remitter service. The agent’s investigation

also revealed that Defendant helped to maintain a house where large

quantities of the crack cocaine were stored and then later sold.

     The pretrial services report details a long history of convictions in

Florida and North Carolina, the most recent of which occurred in North

Carolina on January 16, 2008, in Macon County Superior Court. The

convictions included, but were not limited to, felony possession with intent

to manufacture, sell, and deliver cocaine; and two counts of felony



     1
       The Court listened to the FTR electronic recording of the detention
hearing.


   Case 1:09-cr-00026-MR-WCM     Document 139    Filed 05/12/09    Page 2 of 7
                                     3

possession with intent to sell and deliver methamphetamine. Defendant

was placed on electronic monitoring and later convicted on June 5, 2008,

of a felony probation violation and his probation was extended three

additional months. Pretrial Services Report, at 4.

     Defendant called two witnesses to testify on his behalf: a substance

abuse counselor from Smoky Mountain Mental Health, and his Narcotics

Anonymous (“NA”) sponsor. Defendant began using cocaine at age 19

and his last known use was on February 5, 2008. Id. at 2. The testimony

shows that Defendant participated in an intensive drug treatment program

that included three hour meetings occurring three times weekly. The

program began roughly 18 months ago and Defendant submitted to weekly

drug screens and all screens were negative. Defendant completed the

program six months ago and continues to participate in at least one weekly

meeting. Defendant’s NA Sponsor, Craig Coltart, has served as his

sponsor for nearly a year and testified that he and Defendant regularly

attend NA meetings together and meet several times a month to discuss

ongoing sobriety. Coltart described Defendant’s attitude in treatment as

honest and open. Defendant has maintained self-employment as a master

mason and around the time of the detention hearing Defendant was



   Case 1:09-cr-00026-MR-WCM    Document 139    Filed 05/12/09   Page 3 of 7
                                       4

scheduled to begin work on a project in Macon County. Id. Defendant’s

state probation officer reported that Defendant had been compliant while

on probation. Id. at 4.

      The Magistrate Judge noted that Defendant is charged with a crime

creating a rebuttable presumption of detainment under 18 U.S.C. §

3142(3)(A) (offense for which a maximum term of imprisonment of ten

years or more is prescribed by the Controlled Substances Act). After

reviewing the evidence, the Magistrate Judge found that Defendant had not

met his burden of rebutting this presumption of detention and ordered

Defendant detained pending trial. See Order of Detention Pending Trial,

filed April 24, 2009.

                          II.   STANDARD OF REVIEW

      Title 18 U.S.C. § 3145(b), which governs review and appeal of

detention orders, provides that "[i]f a person is ordered detained by a

magistrate judge, . . . the person may file, with the court having original

jurisdiction over the offense, a motion for revocation or amendment of the

order." In acting on such a motion, the Court reviews the Magistrate

Judge's order de novo. United States v. Stewart, 19 F. App'x 46, 47 (4th




   Case 1:09-cr-00026-MR-WCM       Document 139   Filed 05/12/09   Page 4 of 7
                                        5

Cir. 2001). Thus, this Court makes "an independent determination of the

proper pretrial detention or conditions of release." Id.

      Title 18 U.S.C. § 3142 provides that if, after holding a hearing, the

Court finds that "no condition or combination of conditions will reasonably

assure the appearance of the person as required and the safety of any

other person and the community," the Court shall order the detention of the

person pending trial. 18 U.S.C. § 3142(e). There is a rebuttable

presumption of detention when an offense is charged “for which a

maximum term of imprisonment of ten years or more is prescribed by the

Controlled Substances Act. 18 U.S.C. § 3142(e)(3).2 The Court must

consider

      (1) the nature and circumstances of the offense charged,
      including whether the offense is a crime of violence, a Federal
      crime of terrorism, or involves a minor victim or a controlled
      substance, firearm, explosive, or destructive device;


      (2) the weight of the evidence against the person;

      (3) the history and characteristics of the person, including –

               (A) the person's character, physical and mental condition,
               family ties, employment, financial resources, length of
               residence in the community, community ties, past conduct,


      2
          There is no dispute that such an offense is charged in this case.


   Case 1:09-cr-00026-MR-WCM        Document 139    Filed 05/12/09   Page 5 of 7
                                     6

           history relating to drug or alcohol abuse, criminal history, and
           record concerning appearance at court proceedings; and

           (B) whether, at the time of the current offense or arrest, the
           person was on probation, on parole, or on other release
           pending trial, sentencing, appeal, or completion of sentence for
           an offense under Federal, State, or local law; and


     (4) the nature and seriousness of the danger to any person or the
     community that would be posed by the person's release.


18 U.S.C. § 3142(g).



                               III. ANALYSIS

     The Court notes that Defendant does not object to any of the

evidence presented by the Government at the detention hearing nor to any

of the extensive oral or written findings entered by the Magistrate Judge.

See Appeal of Bond for Review by District Court Judge, filed April 29,

2009. Defendant contends that he should be released on bond “so that he

may continue with substance abuse treatment and be allowed attend

Narcotics Anonymous meetings.” Id. at 1.

     The Court has conducted an independent review of the FTR

recording of the detention hearing; the Order of Detention; the indictment;

the pretrial services report; and considered the arguments of counsel.


   Case 1:09-cr-00026-MR-WCM     Document 139    Filed 05/12/09   Page 6 of 7
                                      7

Based on this review, the Court concludes that the Magistrate Judge

carefully considered each factor set forth in § 3142(g) on the record at the

detention hearing and in his Order of Detention in light of the evidence and

arguments presented during the detention hearing. Defendant has not

assigned error to any of the Magistrate Judge’s findings and this Court’s

examination of the evidence reveals no error. The undersigned concludes

that Defendant has not rebutted the presumption of detention.

Accordingly, the Court will affirm Defendant's detention pending trial.



                                IV. ORDER

      IT IS, THEREFORE, ORDERED that Defendant's motion for review

of the detention order is GRANTED, and the Magistrate Judge's Order of

Detention is hereby AFFIRMED.

                                      Signed: May 12, 2009




   Case 1:09-cr-00026-MR-WCM     Document 139    Filed 05/12/09   Page 7 of 7
